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CLER .S. |S,TR|CT COURT

§AO 442 (Rev. 10/03) Warrant for Arrest

UNITED STATES DISTRICT COURT

 

 

Western District of Texas :EST D| R|CT OF TEXAS
'…
UNITED STATES OF AMERICA
WARRANT FOR ARREST
V.
Michae| Zachariah Gomez Case Number: MO_O8_CR_O49_02

To: The United States Marshal
and any Authorized United States Ofi`icer

You ARE HEREBY COMMANDED 10 arrest Michae' Zachariah GOmez

Name

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

|Xlndictment [jlnformation g Complaint [:\ Order of |:} Probation ij Supervised Release [| Violation
court Violation Violation Petition Notice
Petition

charging him or her with (brief description of offense)
Conspiracy to Distribute and Possess With |ntent to Distribute Contro||ed Substance.

' in Vioiation OfTitle 21 Uniced StatesC de, ection( 846’ A /`

  

W|||iam G. Putnicki

 

 

 

Name of Issuing Officer Sigr.iature of Issuing Officer
C|erk of Court 2/28/2008 l\/|id|and, TX
Title of Issuing Officer Date Location

RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

c"\` \/\)Qrst'(/\ T`l\

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

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DATEOFA EST r"”
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